993 F.2d 1537
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jacob C. HIGGS, Petitioner-Appellant,v.Sheriff KENT, Respondent-Appellee.
    No. 93-6159.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  May 25, 1993
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-93-4-R)
      Jacob C. Higgs, Appellant Pro Se.
      W.D.Va.
      DISMISSED.
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Jacob C. Higgs seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.1  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.2  Higgs v. Kent, No. CA-93-4-R (W.D. Va.  Jan. 8, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        1
         In reaching this conclusion, we reviewed Mr. Higgs's informal brief, supplemental informal brief, and all other informal papers filed by him in connection with this appeal
      
      
        2
         Mr. Higgs is no longer in custody.  The district court was therefore without jurisdiction to entertain his petition.  28 U.S.C. § 2254(a) (1988)
      
    
    